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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            06-cr-208-01-JD

Tyler James, et al


                                  O R D E R


      The assented to motion to reschedule jury trial (document no.

59) filed by defendant is granted.

      Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3131(h)(8)(B)(iv), for the

reasons set forth in the motion.

      SO ORDERED.



                                          /s/Joseph A. DiClerico, Jr.
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

Date:    April 23, 2007




cc:   James Gleason, Esq.
      John Pendelton, Esq.
      Ash S. Joshi, Esq.
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      U.S. Probation
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